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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


 UNITED STATES OF AMERICA,                      No. 17-20274

             Plaintiff,                         Hon. Bernard Friedman

       v.

 D-1 JUMANA NAGARWALA,
 D-2 FAKHRUDDIN ATTAR,
 D-3 FARIDA ATTAR, and
 D-4 FATEMA DAHODWALA,

             Defendants.
                                  /



       GOVERNMENT’S RESPONSE TO DEFENDANTS’
  MOTION TO DISMISS FOURTH SUPERSEDING INDICTMENT

       For the reasons stated in the government’s brief, this Court should

 deny Defendants’ motion to dismiss the Fourth Superseding Indictment.




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                                    Respectfully submitted,

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 Dated: June 10, 2021               Washington, DC 20005




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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


 UNITED STATES OF AMERICA,                      No. 17-20274

             Plaintiff,                         Hon. Bernard Friedman

       v.

 D-1 JUMANA NAGARWALA,
 D-2 FAKHRUDDIN ATTAR,
 D-3 FARIDA ATTAR, and
 D-4 FATEMA DAHODWALA,

             Defendants.
                                  /

     BRIEF IN SUPPORT OF GOVERNMENT’S RESPONSE TO
         DEFENDANTS’ MOTION TO DISMISS FOURTH
          SUPERSEDING INDICTMENT (ECF NO. 487)

       Earlier this year, the government obtained a Fourth Superseding

 Indictment. (ECF No. 470). This indictment sets forth, in more detail,

 the obstruction evidence that the government intends to introduce at

 trial. The conduct alleged in the Fourth Superseding Indictment is the

 same conduct alleged in Counts 5, 6 and 7 of the April 2017 Indictment

 (ECF No. 16, PageID. 99–102), Counts 7, 8, and 9 of the June 2017

 Superseding Indictment (ECF No. 58, PageID. 516–520), Count 7 of the

 September 2017 Second Superseding Indictment (ECF No. 153, PageID.

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 1275), and Count 8 of the September 2018 Third Superseding

 Indictment (ECF No. 334, PageID. 2472). Defendants have moved to

 dismiss the Fourth Superseding Indictment on the grounds of

 prosecutorial vindictiveness. Their challenge should fail. There is no

 “realistic likelihood of vindictiveness” for the government’s decision to

 obtain an additional superseding indictment. The defendants can

 identify neither a governmental stake nor show how the government

 acted unreasonably in bringing the Fourth Superseding Indictment.

 While the Fourth Superseding Indictment contains additional details

 about the alleged offenses, it does not charge defendants with more

 serious crimes or punish them in any way for exercising their

 constitutional rights. Accordingly, defendants’ motion should be denied.

    I.        BACKGROUND

         A.    Prior Indictments

         Beginning with the first indictment in April 2017 and continuing

 through the Fourth Superseding Indictment in March 2021, the

 government has always alleged that defendants engaged in obstruction

 and made false statements related to the events surrounding April 10,

 2017. Counts 5, 6 and 7 of the April 2017 Indictment (ECF No. 16,


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 PageID. 99–102) and Counts 7, 8, and 9 of the June 2017 Superseding

 Indictment (ECF No. 58, PageID. 516–520) charged defendants with

 violating 18 U.S.C. § 1512(c)(2), (k), and § 1001. Count 7 of the

 September 2017 Second Superseding Indictment (ECF No. 153, PageID.

 1275) and Count 8 of the September 2018 Third Superseding

 Indictment (ECF No. 334, PageID. 2472) charged defendants with

 violations of 18 U.S.C. § 1512(k).

       After multiple challenges to the specific counts in the indictments,

 with which this court is familiar, the only remaining count of the Third

 Superseding Indictment was the obstruction count (Count 8), alleging

 violations of 18 U.S.C. § 1512(k) based on the four defendants’ conduct

 on or about April 10, 2017. The language in the Third Superseding

 Indictment tracked the language in the statute and did not contain

 specific factual allegations, other than specifying a date.

       In January 2021, defendants filed three motions to dismiss the

 remaining obstruction count in the Third Superseding Indictment for

 (1) insufficient pleading (ECF No. 454), (2) duplicity (ECF No. 453), and

 (3) lack of a federal offense (ECF No. 455). Defendants asserted that the

 obstruction count, as pleaded in the Third Superseding Indictment,


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 “fails to meet the basic pleading requirements of Fed.R.Crim.P 7(c)(1).”

 (ECF No. 454, PageID. 3475). Defendants claimed that Count Eight “as

 written fails to fairly inform Dahodwala of the specific charge against

 which she must defend and accordingly runs contrary to the

 requirements of [Rule 7.]” (ECF No. 454, PageID. 3477). Defendants

 also asked the Court to dismiss the obstruction count because it

 impermissibly “charge[d] two separate conspiracies under § 1512(k)”

 and “join[ed] two or more offenses in the same count.” (ECF No. 453,

 PageID. 3463).

       B.    Current Indictment

       In March 2021, the government obtained a Fourth Superseding

 Indictment. (ECF No. 470). The Fourth Superseding Indictment

 includes extensive general allegations and additional details about the

 evidence that the government plans to introduce at trial. The Fourth

 Superseding Indictment charges the same defendants with the same

 conduct on or about the same date alleged in the indictment and prior

 superseding indictments; namely, that Nagarwala, Fakhruddin Attar,

 Farida Attar, and Fatema Dahodwala conspired to lie to investigators




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 about their participation in FGM, and attempted to persuade others to

 lie to the authorities.

    • Count One charges the four defendants with a conspiracy to make

          false statements, in violation of 18 U.S.C. § 371;

    • Count Two charges Nagarwala, Farida Attar, and Fatema

          Dahodwala with specific false statements in violation of 18 U.S.C.

          § 1001;

    • Count Three charges Nagarwala, Fakhruddin Attar and Farida

          Attar with conspiracy to tamper with a witness, in violation of18

          U.S.C. § 1512(k);

    • Count Four charges Nagarwala and Farida Attar with witness

          tampering, in violation of 18 U.S.C. § 1512(b)(3);

    • Count Five charges Nagarwala, Fakhruddin Attar and Farida

          Attar with witness tampering, in violation of 18 U.S.C. §

          1512(b)(3).

    II.     ARGUMENT

          The due process clause prohibits the prosecution from punishing a

 defendant for exercising a protected statutory or constitutional right.

 United States v. LaDeau, 734 F.3d 561, 566 (6th Cir. 2013) (citing


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 United States v. Poole, 407 F.3d 767, 774 (6th Cir. 2005)). But bringing

 additional charges does not equate to prosecutorial vindictiveness. See

 United States v. Goodwin, 457 U.S. 368, 372 (1982). Instead, only

 charging decisions “that pose a realistic likelihood of ‘vindictiveness’”

 violate the due process clause. Goodwin at 372 (citing Blackledge v.

 Perry, 417 U.S. 21, 27 (1974)). Here, defendants do not argue that there

 is objective evidence that the government procured a superseding

 indictment to punish them. (Def. Motion, ECF No 487, PageID. 3885 –

 3892). Instead, they ask the Court to find a presumption of

 vindictiveness. A “district court may find that there is a “reasonable

 likelihood of vindictiveness and may presume an improper vindictive

 motive” if a defendant establishes “that (1) the prosecutor has some

 stake in deterring the defendant’s exercise of his rights and (2) the

 prosecutor’s conduct was somehow unreasonable.” LaDeau, 734 F.3d at

 566 (quoting Bragan v. Poindexter, 249 F.3d 476, 482 (6th Cir. 2001)).

 Because the defendants can establish neither, this Court should not

 presume an improper vindictive motive.




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       A.    The government had no stake in deterring
             defendants’ exercise of their rights.

       In general, pretrial charging decisions are not vindictive, and “a

 change in the charging decision made after an initial trial is completed

 is much more likely to be improperly motivated than is a pretrial

 decision.” Goodwin, 457 U.S. at 381. In Goodwin, the Supreme Court

 noted that before trial, “the prosecutor’s assessment of the proper

 extent of prosecution may not have crystallized.” Id. The Goodwin court

 also explained that “[a] prosecutor should remain free before trial to

 exercise the broad discretion entrusted to him to determine the extent

 of the societal interest in prosecution. An initial decision should not

 freeze future conduct.” Id. at 382.

       A successful pretrial motion does not automatically confer a

 prosecutorial “stake” in deterring a defendant’s exercise of his rights.

 Defendants “routinely file pretrial motions []” and it would be

 “unrealistic to assume that a prosecutor’s probable response to such

 motions is to seek to penalize and to deter.” Id. at 381. As such, the

 Goodwin Court warned that in a pre-trial setting, like here, “there is

 good reason to be cautious before adopting an inflexible presumption of

 prosecutorial vindictiveness.” Id. The Court noted that “a defendant

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 before trial is expected to invoke procedural rights that inevitably

 impose some ‘burden’ on the prosecutor.” Id. The Goodwin Court further

 stated that “[t]he invocation of procedural rights is an integral part of

 adversary process in which our criminal justice system operates.” Id.

 Goodwin catalogued the type of “routine[ ]” and minimally burdensome

 filings that were unlikely to prompt a vindictive prosecutorial response:

 “pretrial motions to suppress evidence; to challenge the sufficiency and

 form of an indictment; to plead an affirmative defense; to request

 psychiatric services; to obtain access to government files; to be tried by

 jury.” Id. (emphasis added).

       Here, the motion filed by the defendants, which forms the

 “government’s stake,” is of the precise nature identified by Goodwin as

 one that is “routine” and “minimally burdensome,” and therefore

 “unlikely to prompt a vindictive prosecutorial response.” Id. The

 government has responded to numerous motions in this case, as was

 expected in a case in which the defendants were the first ever to be

 charged with this crime. Because 18 U.S.C. § 116 had never before been

 charged, the government anticipated significant pre-trial litigation, as

 evidenced by the split deadlines for substantive motions and motions in


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 limine that were established in this case. Thus, the filing of a motion to

 dismiss carries a presumption that it will not be met with a vindictive

 response, and the specific facts of this case show that such a motion is

 not a sufficient “stake” for the government.

       Nor is the defendants’ argument that a potential loss on that

 motion would constitute a sufficient government “stake.” In response to

 the motion to dismiss, the government returned to the grand jury. As

 the Sixth Circuit held in United States v. Moon, “the fact that the

 government had to return for a superseding indictment does not

 constitute a sufficient stake in deterring Defendant’s exercise of a

 protected right.” 513 F.3d 527, 536 (6th Cir. 2008).

       Unlike in LaDeau, where the government lost a motion to

 suppress which “eviscerated” its evidence and filed a superseding

 indictment that included more severe penalties, here, the government

 has not lost evidence and has not sought more severe penalties. Instead,

 this case is similar to Moon, 513 F.3d at 536, where the alleged “stake”

 was that the government had to return to the grand jury twice in

 response to the defendants’ motion to dismiss. The Sixth Circuit held

 that this was not a sufficient stake, because even though the


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 government had to return to the grand jury, “it was able to resuscitate

 its prosecution on charges identical to those originally brought in the

 initial indictment simply by properly alleging an interstate commerce

 element.” Here, as in Moon, the Fourth Superseding Indictment was

 revised to “properly allege” the obstruction and false statement charges,

 as well as provide additional information about the government’s theory

 of the case to the defendants, the Court, and ultimately, the jury.

 Returning to the grand jury to make such edits reflects a strategic

 decision, not a punitive one.

       B.    The government did not act unreasonably.

       As a general matter, a superseding indictment is potentially

 vindictive only if it “add[s] additional charges or substitute[s] more

 severe charges based on the same conduct charged less heavily in the

 first indictment.” LaDeau, 734 F.3d at 570 (citing United States v.

 Suarez, 263 F.3d 468, 480 (6th Cir. 2001)). As the Sixth Circuit pointed

 out in United States v. Andrews, “[a] prosecutor who adds on extra

 charges after the exercise of a procedural right is arguably acting less

 vindictively than a prosecutor who substitutes a more severe charge for

 a less severe one.” 633 F.2d 449, 454 (6th Cir. 1980). “In the first


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 situation, a prosecutor might well have made an honest mistake,” but

 “in the second situation, the prosecutor will have already exercised his

 discretion, and the probability that the prosecutor acted vindictively is

 higher.” Id.

       The LaDeau Court recognized that even after the successful

 motion to dismiss, it would have been reasonable for the government to

 seek a superseding indictment to substitute additional charges.

 LaDeau, 734 F.3d at 571 (“. . . a recalibration from a possession charge

 to a conspiracy-to-possess charge would have been a reasonable

 response to LaDeau’s successful suppression motion”). The Sixth Circuit

 ultimately held that the “district court did not abuse its discretion in

 finding that that there was no reasonable basis for the government's

 decision to shift from a possession theory to a receipt theory when the

 latter carried a five-year mandatory minimum that the former did not.”

 Id. (emphasis added).

       Here, as in Moon, and as discussed in LaDeau, the Fourth

 Superseding Indictment was simply a “recalibration” and did not

 include more serious charges or punish the defendants in any way for

 exercising their constitutional rights. Count 8 of the Third Superseding


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 Indictment charged each defendant with one count of conspiring to

 violate 18 U.S.C. § 1512(k), which carries a maximum penalty of up to

 20 years in prison. Count 8 was minimally pleaded and included only a

 recitation of the statutory language. The Fourth Superseding

 Indictment added factual allegations and detail about the government’s

 evidence. In addition, the most serious charge remains 18 U.S.C. §

 1512(k). The new charges—making false statements and conspiring to

 make false statements in violation of 18 U.S.C. §§ 1001 and 371—are

 only punishable by up to 5 years in prison. Importantly, violations of §

 1001 were alleged in the Indictment and First Superseding Indictment.

 (ECF Nos. 16, 58). A single sentencing guideline provision covers

 violations of § 1001 and § 1512: U.S.S.G. §2J1.2. If defendants were

 convicted of Count 8 of the Third Superseding Indictment or any of the

 counts in the Fourth Superseding Indictment, the advisory guideline

 range would be the same. Unlike in LaDeau, there is no crime with a

 mandatory minimum penalty included in the Fourth Superseding

 Indictment. Rather than penalize defendants or add more serious

 charges, the Fourth Superseding Indictment sought to clarify the




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 government’s theory of the offense and put the defendants on notice for

 the evidence that the government would introduce at trial.

       C.    The “law of the case doctrine” does not apply to the
             Fourth Superseding Indictment.

       Finally, defendants argue that the “law of the case doctrine”

 prohibits the charges in the Fourth Superseding Indictment. But

 defendants misinterpret this doctrine.

       “The law-of-the-case doctrine expresses the routine practice of

 courts ‘to refuse to reopen what has been decided.’” United States v.

 Garcia, 496 F.3d 495, 514 (6th Cir. 2007) (quoting Christianson v. Colt

 Indus. Operating Corp., 486 U.S. 800, 817, (1988)). “Under the law-of-

 the-case doctrine, a court generally may not revisit an issue that it

 decided, whether expressly or by necessary implication from its

 disposition, at an earlier stage of the proceedings, rather, once a court

 has decided an issue, the court should usually give effect to that

 decision throughout the litigation.” United States v. Blakley, No. 14-cr-

 20030, 2014 WL 4978900, at *3 (E.D. Mich. Oct. 6, 2014).

       The Fourth Superseding Indictment charges the defendants with

 witness tampering and conspiracy to obstruct, in violation of 18 U.S.C. §

 1512(b)(3), (k). The elements of 18 U.S.C. § 1512(b)(3) are:

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       1.    The defendant knowingly intimidated, threatened, or
             corruptly persuaded another person, or engaged in
             misleading conduct toward another person;
       2.    With the intent to hinder, delay, or prevent the
             communication to a law enforcement officer or judge of the
             United States;
       3.    of information relating to the commission or possible
             commission of a Federal offense

       The indictment alleges that defendants conspired to lie to law

 enforcement about FGM. It is undisputed that at the time of the

 conspiracy, FGM was a federal criminal offense under 18 U.S.C. § 116. 1

 In addition, at the time of the obstruction, the government was

 investigating additional federal offenses, including 18 U.S.C. §§ 2423(a),

 (b). That this Court later found that Congress exceeded its

 constitutional authority when it passed 18 U.S.C. § 116 has no impact

 on the illegality of defendants’ conduct. Defendants attempted to

 obstruct an investigation into federal offenses by persuading community

 members to lie to the FBI.

       Defendants are also charged with making false statements to

 federal agents in violation of 18 U.S.C. § 1001. The elements of this




 1 FGM remains a federal offense. In response to this Court’s ruling,
 Congress passed the “Strengthening the Opposition to Female Genital
 Mutilation Act of 2020.” H.R. 6100, Section 5. See 18 U.S.C. § 116(d).
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 offense are that defendants knowingly and willfully: (1) falsified,

 concealed, or covered up by any trick, scheme, or device a material fact;

 (2) made any materially false, fictitious, or fraudulent statement or

 representation; or (3) made or used any false writing or document

 knowing the same to contain any materially false, fictitious, or

 fraudulent statement or entry. The court’s ruling on the

 constitutionality of 18 U.S.C. § 116 has no impact on the counts in the

 indictment that charge defendants with making false statements or

 conspiring to make false statements.




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    III. CONCLUSION

       Defendants’ motion to dismiss the Fourth Superseding Indictment

 should be denied.

                                     Respectfully submitted,

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                       CERTIFICATE OF SERVICE


       I certify that on June 10, 2021, I electronically filed this motion

 response for the United States with the Clerk of the United States

 District Court for the Eastern District of Michigan using the ECF system,

 which will send notification of such filing to counsel of record.


                                        /s/ Sara Woodward
                                        AUSA, Eastern District of
                                        Michigan




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